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                                                                                 FILED
                                                                                  DEC - 9 2020
                             UNITED STATES DISTRICT COURT                   Clerk, U.S. District & Bankruptcy
                             FOR THE DISTRICT OF COLUMBIA                   Court for the District of Columbia


 FEDERAL TRADE COMMISSION,                               Case: 1:20−cv−03590
                                                         Assigned To : Cooper, Christopher R.
                        Plaintiff,                       Assign. Date : 12/9/2020
                                                         Description: Antitrust (A−DECK)
                        v.
                                                         Chief Judge Beryl A. Howell
 FACEBOOK, INC.,

                        Defendant.




                                             ORDER

       Upon consideration of Plaintiff Federal Trade Commission’s (“FTC”) Motion to File

Complaint Temporarily Under Seal (“Motion”), it is hereby GRANTED; and it is further

       ORDERED, that the Commission’s unredacted Complaint in the above-captioned matter

shall remain sealed until further Order of the Court;

       ORDERED, the Clerk of the Court shall immediately place on the public docket the

FTC’s partially redacted Complaint in the above-captioned matter, attached as Exhibit 1 to the

FTC’s Motion;

       ORDERED, that the FTC shall promptly provide a copy of this Order to representatives

of Defendant Facebook, Inc.;

       ORDERED, that within ten calendar days of the date of this Order, either the FTC or

Defendant Facebook, Inc. shall provide to the United States District Judge to whom this case is

assigned an updated proposal regarding sealing.




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SO ORDERED.

    Date: December 9, 2020

                                       __________________________
                                       BERYL A. HOWELL
                                       Chief Judge




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